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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF ALASKA

GROUNDFISH FORUM, INC.,

                   Plaintiff,

       v.                                        Case No. 3:23-cv-00283-JMK

NATIONAL MARINE
FISHERIES SERVICE, et al.,

                   Defendants.



                     BRIEF OF AMICI CURIAE
                 SENATOR DANIEL S. SULLIVAN AND
              REPRESENTATIVE MARY SATTLER PELTOLA




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                        INTEREST OF AMICI CURIAE1

      Amici Curiae are two members of Congress who represent Alaska and

Alaskans: Senator Dan Sullivan and Representative Mary Sattler Peltola. Senator

Sullivan currently serves on the United States Senate Committee on Commerce,

Science and Transportation, which has jurisdiction over the Nation’s marine

fisheries, the regional fishery management councils, and the Northern Pacific

Halibut Act of 1982, and is the Ranking Member of the Subcommittee on Oceans,

Fisheries, Climate Change and Manufacturing. Before his election to the United

States Senate, Senator Sullivan served as Alaska’s Attorney General and

Commissioner of the Alaska Department of Natural Resources.         Representative

Peltola currently serves on the United States House of Representatives Committee

on Natural Resources, which has jurisdiction over fisheries and wildlife, marine

affairs, and international fishing agreements. Before her election to the United

States House of Representatives, Representative Peltola served as the Executive

Director of the Kuskokwim River Inter-Tribal Fish Commission and on the boards of

the Nature Conservancy and the Alaska Humanities Forum.

      Amici share a bipartisan interest in ensuring that courts and parties respect

the non-partisan decision-making process that Congress established when creating

regional fishery management councils.    One of those councils, the North Pacific

Fishery Management Council (“Council”), is responsible for overseeing the public


1
 No party’s counsel authored this brief in whole or in part, and no party, party’s
counsel, or other person made a monetary contribution to the brief’s preparation or
submission.



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process that culminated in the approval of Amendment 123 to the Bering Sea and

Aleutian Islands Fishery Management Plan. Amici also share an interest in the

continued well-being of the many Alaskans who depend on halibut and the Council’s

efforts to conserve Alaska’s natural resources for the benefit of the fisheries and

fishing communities that depend on them.        Halibut is an important source of

employment, income, and often essential subsistence for many of Alaska’s coastal

communities.

      Amici submit this brief to address two discrete issues: (1) the nature of the

public, consensus-building process that the Council undertakes when managing

fishing resources, and (2) the importance of ensuring that halibut resources are

appropriately managed, in tandem with the International Pacific Halibut

Commission, for long-term sustainable use by the commercial, recreational, and

subsistence sectors, including both direct and indirect use. These two issues provide

essential context for evaluating the merits of this case and the arguments presented

by both sides.




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                                INTRODUCTION

      In considering the issues raised in this case, the Court should respect the

results of the public administrative process that, after six years of substantial

stakeholder engagement and careful scientific and economic analysis, culminated in

the recommendations reflected in Amendment 123. Amendment 123 is an attempt

to address the challenges arising due to a decline in halibut stocks, and the need to

balance conservation burdens between those who fish directly for halibut and those

who catch halibut indirectly.      In particular, Amendment 123 changes the

management approach in setting annual limits on the amount of halibut bycatch that

may be caught by the companies comprising the trawl “Amendment 80” sector that

harvests groundfish species in Alaska’s Bering Sea and Aleutian Islands. Instead of

a fixed limit on halibut bycatch, Amendment 123 establishes a variable limit that

becomes more conservative when overall halibut populations decline, and less so as

abundance increases.

      Congress created the Council to establish regulations for fisheries in the

“Arctic Ocean, Bering Sea, and Pacific Ocean seaward of Alaska” through a public

process that includes open meetings, technical reviews, and opportunities for public

input and comment. 16 U.S.C. § 1852(a)(1)(G). The Council’s role is deliberative and

iterative, as its decisions and decision-making process must be consistent with

multiple federal laws, and it must balance a broad range of interests from a diverse

set of stakeholders. Those interests include not only the Amendment 80 sector, but

also the commercial and sport fishermen who target halibut, as well as coastal




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communities and Alaska Native groups that have relied on halibut as an important

subsistence resource for generations.

      Amici recognize that no process is perfect, and that conservation and

management decisions are often difficult. Congress created the Council, however, to

establish a process that deliberately vests decision-making authority in a carefully

vetted group of appointees who are bound by an extensive and deliberative public

process to ensure that their decisions are driven by science, reflect a careful balance

of a range of interests, and are informed by exhaustive information on the topic at

hand. More specifically, Congress made it the Council’s job to recommend measures

that ensure sustainable management of fishery resources that are important to

Alaska and the Nation as a whole, including by balancing the principles of the

National Standards mandated in the Magnuson-Stevens Fishery Conservation and

Management Act. Contrary to what plaintiff’s brief suggests, there is no reason to

assume that the Council has not properly considered the information collected

through its comprehensive public comment and analytical process or that the Council

has failed to take a balanced approach that seeks to fairly distribute conservation

burdens when halibut populations drop below certain levels.




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                                   ARGUMENT

I.    Congress Created Regional Fishery Management Councils to Manage
      and Conserve Fisheries in Federal Waters to Ensure their Long-term
      Health and Stability.

      Amici have a strong interest in ensuring that the Council’s transparent and

public process for managing federal fisheries in Alaska is respected. When Congress

enacted the Magnuson-Stevens Act in 1976, it created a “national program for the

conservation and management of fishery resources.” 16 U.S.C. § 1801(a)(4)–(6).

      Consistent with these objectives, the Magnuson-Stevens Act established

separate councils to “exercise sound judgment in the stewardship of fishery

resources” in each of eight separate regions across the United States.             Id.

§§ 1852(1)(G), 1801(b)(5). Congress tasked the North Pacific Fishery Management

Council, as one of those eight administrative bodies, with responsibility for managing

and conserving fisheries in Alaska, including in the Gulf of Alaska, the Aleutian

Islands, the Bering Sea, and the Arctic. Id. § 1852(a)(1)(G). The Council’s public

process is intended to take account of, and then balance the interests of, the many

U.S. stakeholders who benefit from proper conservation and management of the

nation’s fishing resources in Alaska. The process is designed to “enable States, the

fishing industry, consumer and environmental organizations, and other interested

persons to participate in, and advise on, the establishment and administration of

[fishery management] plans.” Id. § 1801(b)(5).

      The Council’s process ensures that its recommendations are based on extensive

scientific and economic analysis and public input, and its organizational structure

reflects its members’ expertise and experience in the federal fisheries under their


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jurisdiction.   The Council has 15 members, with 11 voting members.                   Id.

§ 1852(a)(1)(G). For the voting members, the Governor of Alaska nominates five

private citizens, and the Governor of Washington nominates two private citizens. By

statute, each of these members “must be individuals who, by reason of their

occupational or other experience, scientific expertise, or training, are knowledgeable

regarding ... conservation and management.” Id. § 1852(b)(2)(A). The four remaining

voting members are principal officials from Alaska, Washington, Oregon, and the

National Marine Fisheries Service (“NMFS”). Id. § 1852(a)(1)(G). The Council’s non-

voting members include the regional director of U.S. Fish and Wildlife Service, the

district Commander of the U.S. Coast Guard, the executive director of the Pacific

States Marine Fisheries Commission, and a representative of the U.S. Department of

State. See id. § 1852(c)(1).

       As an administrative body focused on conservation and management, the

Council is well positioned to assess the challenges posed by variations in halibut

stocks and to set appropriate restrictions on halibut bycatch that take account of the

interests of many different stakeholders. Congress specifically vested the Council

with responsibility for making recommendations that “establish specified limitations”

that “are necessary and appropriate for the conservation and management of” the

fisheries, including by adopting limitations on “bycatch” and the “use of specified

types and quantities” of different methods of fishing. Id. §§ 1853(a)(11), (b)(3)–(4). In

making these recommendations, the Council must consider the “social and economic

needs” of affected States and “promote” the “development” of fishing, “including




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bottom fish off Alaska … in a non-wasteful matter.” Id. § 1801(b)(5)–(6). The Council

also must take steps to “minimize adverse economic impacts on [fishing] communities

... to the extent practicable.” Id. § 1851(a)(8). While a separate governing body sets

quotas for direct halibut fishing, see id. § 773, Congress expressly tasked the Council

with responsibility for creating “conservation and management measures” that, to

the extent practicable, apply to “minimize bycatch” and, if bycatch cannot be avoided,

“minimize the mortality of [such] bycatch.” Id. § 1853(a)(11); see also id. § 1851(a)(9).

      The Council’s process is designed to take account of complex scientific and

economic information and the diverse interests of those who engage in, depend on,

and are impacted by the federal fisheries in Alaska. The statute requires the Council

to “meet at appropriate times and places in any of the constituent States of the

Council.” Id. § 1852(e). The Council typically has met five times a year, with each

meeting lasting approximately seven days. See North Pacific Fishery Management

Council, How We Work (June 15, 2024), https://www.npfmc.org/how-we-work/. The

Council’s “regular meeting[s] ... [are] open to the public,” and the Council publishes

“[t]imely public notice of each regular meeting ... including the time, place, and

agenda of the meeting.” 16 U.S.C. § 1852(i)(2)(A)–(C).

      Significantly, the Council’s decisions are subject to a “majority vote [by] the

voting members present,” and only “[a] majority of the voting members ... constitute

a quorum” sufficient to initiate a vote. 16 U.S.C. § 1852(e)(1). Once amendments are

passed by a majority of a valid quorum, they are submitted to the Secretary of

Commerce for approval. See id. § 1852(h)(1).




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       Given the Council’s careful structure and its extensive public-engagement

process, it is important that interested parties respect that process and afford the

Council the presumption of regularity to which it is entitled. See San Miguel Hosp.

Corp. v. NLRB, 697 F.3d 1181, 1186–1187 (D.C. Cir. 2012) (noting general principle

that agencies are entitled to a presumption of regularity).        Where, as here, an

administrative body exercises judgment requiring the exercise of technical expertise

and a careful balancing of relevant factors, applying clear statutory requirements to

a well-developed administrative record, the Court should be wary of open-ended

invitations to “substitute its judgment for that of the agency.” San Luis & Delta-

Mendota Water Auth. v. Jewell, 747 F.3d 581, 602 (9th Cir. 2014).

II.    The Council Appropriately Considered the Importance of Halibut for
       All Users.

       When recommending Amendment 123, eight out of the 11 council members,

including all six Alaska seats, voted to support the recommendation. In reaching that

decision, the Council considered the broader social and economic consequences of new

bycatch restrictions to the affected communities and user groups. The Council’s

approach revisited the harvest limits previously applied and recommended linking

the halibut bycatch limit for the Amendment 80 commercial groundfish trawl fleet in

the relevant groundfish fisheries to halibut abundance. Given the importance of

halibut to all users, including local communities, the Council’s variable approach is

intended to prevent halibut bycatch from becoming a larger proportion of total

removals in the Bering Sea and Aleutian Islands when halibut abundance declines.




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      Halibut has long been “integral to the health of Alaska marine ecosystems”

and is “of great economic and cultural importance to stakeholders in Alaska and

elsewhere in the United States.” North Pacific Fishery Management Council, Halibut

Bycatch, Fisheries & Issues (June 10, 2024), https://tinyurl.com/253te6r7. Halibut

fishing is a cornerstone of Alaska’s economy and local culture, and the Bering Sea is

an important location for harvesting halibut.       Commercial fishing vessels catch

halibut that are processed and widely distributed to consumers domestically, and

even internationally. Moreover, halibut fishing supports a vast network of businesses

across the State, including fishing gear suppliers, boat builders, and transportation

companies. Halibut also serves as a valuable food source for local communities, where

halibut is a staple that provides essential nutrients and protein to local diets. As the

Council’s record shows, at least 17 Alaskan communities are “considered halibut-

dependent,” and 16 of those communities “are home to federally recognized Alaska

Native tribes.”    NOAA, Final Envt’l Impact Statement for the BSAI Halibut

Abundance-Based Mgmt. of Amendment 80 Prohibited Species Catch Limit (“FEIS”),

at 262 (2022), https://tinyurl.com/8re59ecy.

      Although the sustainable management of halibut stocks is essential to the

long-term viability of many of Alaska’s coastal communities, halibut stocks have

declined in recent years, by almost fifty percent—from 133.4 million halibut in 2006

to less than 70 million halibut in 2019. See FEIS, at 62, 63. That decline is significant

because under the existing regulatory quota system, overseen by the International

Pacific Halibut Commission under the terms of a treaty between the United States




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and Canada, halibut bycatch is subtracted from the total available halibut biomass

before determining the annual allowable harvest levels for those who fish directly for

halibut. As a result, when halibut biomass levels decrease, halibut bycatch becomes

a greater portion of the overall allowable catch, and smaller amounts of halibut

remain for commercial fishermen directly targeting halibut.

      Contrary to plaintiffs’ position, the questions for the Council were not only

whether bycatch restrictions may have measurable impacts on halibut biomass but

more broadly whether increased bycatch protections are appropriate to serve the

“social and economic needs” of affected fishing communities and “minimize the

economic impacts” on those communities, especially in circumstances when halibut

stocks are at historically low levels. 16 U.S.C. § 1801(b)(5)–(6), (8). Total halibut

catch for Alaska businesses and communities that fish in the Bering Sea declined by

more than fifty percent between 2010 and 2020, and their revenues declined by an

even greater percentage in that same time. See FEIS, at 185 (Table 4-5 and Table 4-

6). It is thus not surprising that the Council would re-evaluate existing management

measures and, in particular, whether the existing halibut bycatch measures were

appropriate. Indeed, considering these broader consequences is important because

Congress took care in the Magnuson-Stevens Act to define “conservation and

management” to refer to all of the “measures []which are required to rebuild, restore,

or maintain ... fishery resource[s] ... and []which are designed to assure that … a

supply of food and other products may be [obtained], on a continuing basis,” and that

“long-term adverse effects on fishery resources ... are avoided.” 16 U.S.C. § 1802(5).




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III.    The Council’s Decision Reasonably Balances Competing Interests.

        The Council confronted two primary issues before recommending Amendment

123. First, it had to decide whether the Amendment 80 sector’s static bycatch limit

should be updated and revised into a variable bycatch limit that would change

depending on the annual levels of halibut stock. See FEIS, at 50. Second, if the

Council decided to recommend a variable limit, it had to decide how much the bycatch

limit for the Amendment 80 sector should be adjusted (both under status quo halibut

stock levels as well as when halibut biomass levels are higher or lower). Id.

        In addressing these questions, the Council decided to recommend changing the

static approach and to apply a variable limit based on the same management

approach—focused on the abundance of fishing stocks—that is generally applied to

all fisheries throughout Alaska. Id. at 78. The Council also rejected more restrictive

proposals, permitting the Amendment 80 sector’s bycatch limit to rise 10 percent

“above the current ... limit” when halibut stocks become more abundant. Id.

        After years of careful information gathering and analysis, the Council had the

appropriate information to make this recommendation. The Council spent more than

five years launching broad-based research efforts into annual halibut levels, drafting

policy proposals, engaging with community stakeholders, and reforming its proposals

in light of feedback. See FEIS, at 50. The Council supported its decision with a more

than four-hundred-page final environmental impact statement. Moreover, in a series

of public comments and hearings, the Council considered the social and economic

impacts on all affected stakeholders.     See id.   The Council engaged in rigorous




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statistical analyses of Amendment 123’s economic impact on the groundfish industry

and the directed halibut sectors. See id. at 237.

      By recommending a new approach, the Council has determined that halibut

bycatch limits should vary with halibut abundance, similar to the approach that

governs the directed fishery. Moreover, in reaching its recommendation, the Council

proposed and carefully considered many alternatives to Amendment 123. See FEIS,

at 70–71. It also balanced and weighed several factors, “including the likely impacts

on the halibut stock and the affected participants in the Amendment 80 and directed

halibut fisheries.” Id. at 78. After careful consideration of multiple alternatives, the

Council concluded that Amendment 123 was appropriately tailored to balance both

economic and conservation concerns. The Council found that the Amendment 80

sector’s average annual bycatch between 2016 and 2022 would not have approached

the abundance-based limit created by Amendment 123 in any one of those years. See

id. at 81. Moreover, to avoid an undue burden when overall halibut levels reach

historically low levels, the Council restricted the potential catch limit to no less than

35 percent below the previous limit. Id.

                                     *   *    *     *

      The problem of declining halibut stocks poses a significant threat to the social

and economic well-being of Alaska’s coastal communities and fisheries. In these

circumstances, it is important that, as Congress has required, the Council be allowed

to make the difficult conservation recommendations that are necessary to protect the

halibut stocks and balance users’ interests for the benefit of the Nation. The Council




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has followed the processes and done the work that Congress intended. It is important

that stakeholders are able to rely on that process, and that the Council’s exercise of

expertise, based on its analysis of extensive analytical materials and the results of a

thorough public process, receives the respect to which it is entitled.

                                   CONCLUSION

      The Court should deny the plaintiff’s motion for summary judgment.

                                        Respectfully submitted,

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June 27, 2024




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